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561 SW 60th Ave, Plantation, Fl. 33317    Ralph L. Sanders                          :23-16706.;PDR


                        IN THE UNITED STATES BANKRUPTCY OR
                         THE SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DMSION



INRE:                                                 CASE NO.: 23-16706-PDR
                                                      CHAPTER 13
RALPH LEVI SANDERS, JR.


                         Debtor.

                                              l


                   OBJECTION TO CREDITOR MOTION TO
                     DISMISS CASE DUE TO IMPROPER
                     ASSIGNMENT, CONTEMPT (JUDGE
                   GROSMAN COURTROOM TRANSCRIPT)
        MOTION TO DENY CREDITOR RELIEF FROM STAY DUE TO LACK OF LENDER
 TITLE INSURANCE AND TERMS OF THE NOTE FOR WHEN PROPERTY IS NOT AS
                                          DESCRIBED



        Judge Peter Russin and Judge Scott Grossman

        The alleged creditor is claiming the debtor is operating in bad faith pursuant to 11 U.S.C.

§§ 1307(C), 362(c), 362(d) and 105(a), . The reverse is true. The debtor is operating in good faith

and Bank New York Mellon is operating in bad faith. There are solutions to cure my debt.\

including per SEC where BNYM got a refund from Wells Fargo due to mortgage assignment.

There are paths that the creditor needs to follow
                                                                                             7
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         BACKGROUND


       1.    The Note that Bank New York Mellon is holding was assigned from the

            Wells Fargo Mortgage Package to Bank New York Mellon note. See

            Exhibit##

        2. The Lender title insurance policy is assigned to Wells Fargo. Not Bank

            New York Mellon. A copy of the Lender Title policy was provided by the

            BNYM attorney Gary Gessel on January 28, 2023. See exhibit##

       3. As to why the Lender Title insurance policy was not assigned to BNYM.

               a. Fidelity National Title Insurance company requires a fresh title

                    search exhibit## from Fidelity Title Insurance per July and August

                   of 2023 emails

                b. Debtor requested a copy of the BNYM lender title policy

                        i. Request denied but I can request a copy by discovery from

                            Fidelity National Title see exhibit.

       4. Per the Florida Consumer Department Financial Service requires in any

            real estate transaction that both parties have title insurance. Florida

            Version of Dodd-Frank

       5. Right hand vs Left hand. The loan servicer, Specialized Loan Servicer, had

            made an offer to work out the issues. The deadline to respond to the SLS

            offer was September 9, 2023. Eight days after BNYM filed for relief of

            Stay. Exhibits 5. and exhibit 6 -+-+

       6. As to when and why I filed chapter 13 is due to SLS offering a solution to

            mortgage issues and on the other side BNYM filed a sale date. See
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           exhibit## and Exhibit## (9/9/2023). My acceptance was faxed and

           emailed in. Assuming we work out the solution to missing land.

       7. The cause of the missing land is due to the City of Plantation's actions

                a. During January 2023, the City of Plantation scanned in their old

                    records, city council hearings, etc.

                b. In 1961, The city created a design flaw.

               c. The canal was supposed to be 50 feet wide

               d. The City of Plantation Planning and Zoning opted to fold the Canal

                    Maintenance Easement backward into the owner's property.

               e. The design flaw became a topic on a number of City Council

                    hearing

       8. Surveys; I had additional surveys done this year after I found out why my

           neighbors are having land issues.

       9. The surveys from 1962 and 2023 match. The survey done 2004/2005

           with the purchase of my home is flawed per Fidelity Nation Title

           insurance see exhibit##

       10. One of the flaws is that BNYM is foreclosing on land that does not

           belong to me.

       11.I have asked the City of Plantation as to whom the land belongs to. No

           Response. There needs to be another discovery.

       12.There are six other production of documents that need to be filed.

       13.The issues of my foreclosure have become insurance claims/litigation

           against the City of Plantation, and engineers of the stormwater system.

       14. The creditor by their action and letters agrees that there are issues that

           need to be worked out.
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        15.An additional production is the agreement between WF & BNYM in the

            mortgage assignment. I ran across options in SEC cases involving BNYM

            except the buyback is ~ells Fargo.

        16. I have hired attorney Thomas Neusom to be a litigation coordinator to

           farm out the litigation

        17. In case BNYM attorney claims I am past a deadline, exhibit 17 is a

           contempt court, Fraud against the court. Twelve page filing. Since the

            secured property is no longer part of case 22-14766-SMG filing based on

           the statements by the claims that BNYM has Lender Title Insurance

           which has turn out to be incorrect since the year 2011 when Wells Fargo

           assigned the mortgage to Bank New York Mellon. Attorney Neusom

           agrees. exhibit 17

       18.Due to property is no longer part of case 22-14766-SMG, the contempt

           would be assigned a case District court. In that new case, there can be

           the platform for documentation of of my case. Including filing from

           Security Exchange Commision where in other cases BNYM received

            refund for defective mortgage (missing land that is not ours, etc .. ). The

            Lender title insurance policy is on Wells Fargo name.

       19. The fee to open a case in Federal court is interesting except if

           Contempt, then the filing is free and case is opened.

       20.There are multiple paths to repay my debt. I need to update my chapter

            13 filing

       21.To grant relief from Stay is counterproductive to my creditors and future

           owners of the land on the east side of the canal.




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          22. The first payment method stated in the mortgage is "property is not as

             described." (see surveys) Owner payment

          23. The stormwater engineer insurance policy is $1,000,000 per damaged

          home.

          23. The case is now a litigation issue with results going to my debtor.

There is additional documentation to include such as the SEC material where

BNYM received refund and let Wells Fargo who has the Lender Title Insurance

policy. I will send as addend including audio (meets Florida requirement) from SLS

representees stating they don't know what title insurance is, shred the Policys

etc ...

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[!) phone_20230329-114002_18003066059.wav
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        24.Plus different agencies agree that there is a missing land issue. For

            example, the Florida Department of Transportation regarding a bridge in

           the area that crosses the canal. Broward County Highway & Bridge

            department passed the issue to FOOT since the bridge is not on the

            books.

        25.The minutes from City of Plantation hearings (4) where the topic was/is

           the design of the canal

Please deny the creditor's request for relief from the stay

This not only affects my home but neighbors and future owners (if the no

permanent build is still there. i.e. I can't put in a $300,000 seawall to stop the land

vanishing. The quotes I received require the homeowner to get the permits from

South Florida Water Management, Old Plantation Water Control and the City of

Plantation. None of the parties are in favor of narrow waterways. I will send the

quotes in a separate addendum filing. Plus any other items I mention (SEC.GOV &

BNYM) but running out of time

Please deny the creditor's request for relief from the stay.

Specialized Loan Servicing was making offers to resolve the issues




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